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8                            UNITED STATES DISTRICT COURT

9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                               April 2021 Grand Jury

11   UNITED STATES OF AMERICA,                 Case No. 2:21-cr-00344-DSF

12                   Plaintiff,                I N D I C T M E N T

13             v.                              [21 U.S.C. §§ 841(a)(1),
                                               (b)(1)(A)(viii), (b)(1)(B)(vi),
14   JENNIFER MARY WUNDERLIN,                  (b)(1)(C): Distribution of
                                               Methamphetamine and Fentanyl;
15                   Defendant.                21 U.S.C. § 853: Criminal
                                               Forfeiture]
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18        The Grand Jury charges:
19                                      COUNT ONE
20                   [21 U.S.C. §§ 841(a)(1), (b)(1)(B)(viii)]
21        On or about February 11, 2021, in Los Angeles County, within the
22   Central District of California, defendant JENNIFER MARY WUNDERLIN
23   knowingly and intentionally distributed at least five grams, that is,
24   approximately 27.8 grams, of methamphetamine, a Schedule II
25   controlled substance.
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1                                       COUNT TWO

2                        [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

3         On or about February 11, 2021, in Los Angeles County, within the

4    Central District of California, defendant JENNIFER MARY WUNDERLIN

5    knowingly and intentionally distributed N-phenyl-N-[1-(2-

6    phenylethyl)-4-piperidinyl] propanamide (also known as “fentanyl”), a

7    Schedule II narcotic drug controlled substance.

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1                                      COUNT THREE

2                    [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]

3         On or about February 24, 2021, in Los Angeles County, within the

4    Central District of California, defendant JENNIFER MARY WUNDERLIN

5    knowingly and intentionally distributed at least 50 grams, that is,

6    approximately 115 grams, of methamphetamine, a Schedule II controlled

7    substance.

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1                                FORFEITURE ALLEGATION

2                                  [21 U.S.C. § 853]

3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 21,

6    United States Code, Section 853, in the event of the defendant’s

7    conviction of any of the offenses set forth in this Indictment.

8         2.    The defendant, if so convicted, shall forfeit to the United

9    States of America the following:
10              (a)   All right, title and interest in any and all property,
11   real or personal, constituting or derived from, any proceeds which
12   the defendant obtained, directly or indirectly, from such offense;
13              (b)   All right, title and interest in any and all property,
14   real or personal, used, or intended to be used, in any manner or
15   part, to commit, or to facilitate the commission of such offense; and
16              (c)   To the extent such property is not available for
17   forfeiture, a sum of money equal to the total value of the property
18   described in subparagraphs (a) and (b).

19        3.    Pursuant to Title 21, United States Code, Section 853(p),

20   the defendant, if so convicted, shall forfeit substitute property if,

21   by any act or omission of the defendant, the property described in

22   the preceding paragraph, or any portion thereof: (a) cannot be

23   located upon the exercise of due diligence; (b) has been transferred,

24   sold to, or deposited with a third party; (c) has been placed beyond

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